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                       IN THE UNITED STATES DISTRICT COURT FOR T

                              EASTERN DISTRICT OF VIRGINIA
                                                                                        FEB- 5 2019 ^
                                                                                   CLERK. U.S. DISTRICT COURT
                                        Alexandria Division                          ALEXANDRIA. VIRGINIA




UNITED STATES OF AMERICA


               V.                                                Case No.: 1:19-MJ-GD
HAZEL MARIE SANCHEZ CERDAS,a/k/a                                UNDER SEAL
Hazel Marie Shaw, a/k/a "Andrea,"

                Defendant.



                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

   I, Special Agent Alix Skelton of the Federal Bureau of Investigation, being duly sworn under

oath, do hereby depose and state:

                                           INTRODUCTION


       1.       I am a Special Agent(SA)with the Federal Bureau ofInvestigation(FBI). I have

been so employed since 2011 and am currently assigned to the Washington Field Office Child

Exploitation and Human Trafficking Task Force. While employed by the FBI,I have investigated

federal criminal violations relating to crimes against children, including sexual exploitation

offenses, commercial sex trafficking, and other criminal investigations. I have gained experience

through training by the FBI and everyday work relating to conducting these types ofinvestigations.

       2.       As a Federal Agent,I am authorized to investigate violations of United States laws

and to execute warrants issued under the authority of the United States.

       3.       I am submitting this affidavit in support ofa criminal complaint and arrest warrant

charging HAZEL MARIE SANCHEZ CERDAS, a/k/a Hazel Marie Shaw, a/k/a "Andrea," with

knowingly persuading, inducing, enticing, or coercing any individual to travel in interstate or


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